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                Exhibit 7
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                   UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF LOUISIANA
                           ALEXANDRIA DIVISION

  JOHN FITZGERALD HANSON,

                            Plaintiff,

  v.                                               No. 1:25-CV-00102-DDD-JPM

  GENTNER DRUMMOND, et al.,
                            Defendants.


                            DECLARATION OF TIM HARRIS

        I, Tim Harris, declare the following under 28 U.S.C. § 1746, and state under penalty of

 perjury that the following is true and correct to the best of my knowledge and belief:

        1.     I am the former Tulsa County District Attorney. I served in that role for 16

               years, from 1999 to 2014. Previously I served as an Assistant District Attorney

               in Tulsa County for 12 years and was the first Director of Crimes Against

               Children. I also served as General Counsel to the Tulsa County Sheriff’s Office

               for 5 years. In my prosecution career I personally tried approximately 185 jury

               trials, including numerous death penalty cases.

        2.     I was the lead prosecutor presenting the evidence and facts to the jury in the

               prosecution of defendant Hanson for the murders of Jerald Thurman and Mary

               Bowles. Defendant Hanson had a co-defendant, Victor Miller. The defendants’

               trials were severed for jury trial presentation.

        3.     The Tulsa community was stunned by the kidnapping of 77-year-old Mary

               Bowles, a retired bank executive who was getting her exercise walking at the
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             Promenade Mall on a hot August day. The defendants wanted a car so they

             could commit a series of armed robberies in Tulsa. After forcing her inside, the

             defendants drove her Buick sedan up to north Tulsa County. At one point,

             defendant Hanson punched Ms. Bowles in the face after she asked him whether

             he had anyone who loved him.

       4.    After arriving at a remote dirt pit, they were spotted by Jerald Thurman, the

             owner of a trucking company, while he was getting a load of gravel. He parked

             his truck by the only entrance to the pit presumably because he sensed

             something wasn’t right. Co-defendant Miller got out of the Buick and

             approached the truck on foot. He engaged Mr. Thurman in a conversation and

             then shot him four times with a .38 revolver, leaving him for dead. Ms. Bowles

             and defendant Hanson observed this gruesome scene from the Buick.

       5.    Defendant Miller returned to the car and drove down the secluded country

             backroad. After coming to a stop, he told defendant Hanson, “You know what

             you have to do!” Defendant Hanson then dragged Ms. Bowles out of the back

             seat to a bar ditch alongside the road and shot her at point blank range. Mary’s

             decomposed body wasn’t found for days until a motorist saw something under

             some brush and called law enforcement.

       6.    After committing the two murders, the defendants went on an armed robbery

             spree ending in their robbery of a Tulsa Federal Credit Union branch. During

             that robbery, defendant Hanson threatened to kill the bank teller and all other




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